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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    SOUTHERN DIVISION

                                               *
Seymour Fein                                   *
                                               *
                         Plaintiff,            *
                                               *
     v.                                        *      Case No. 8:15-cv-03709-PX
     *
ChiRhoClin, Inc.                               *
                                               *
                         Defendant.            *
                                               *
*         *       *      *       *      *      *       *      *       *      *       *

              INDEX OF EXHIBITS TO DEFENDANT’S MEMORANDUM OF LAW
                    IN OPPOSITION TO PLAINTIFF SEYMOUR FEIN’S
                         MOTION FOR SUMMARY JUDGMENT


UNSEALED EXHIBITS

    Exhibit G:    Dr. Seymour Fein Curriculum Vitae

    Exhibit H:    Spreadsheet indicating payments made to Dr. Seymour Fein and Edward D.
                  Purich

    Exhibit I:    Spreadsheet indicating loans by and payments to Dr. Seymour Fein

    Exhibit J:    January 14, 2013 email from Seymour Fein to Edward Purich and Jean Purich
                  regarding royalty payment

    Exhibit K:    January 22, 2013 email from Seymour Fein to Edward Purich (copy to Jean
                  Purich and Skip Purich) regarding feedback from experts on payments from CRC

    Exhibit L:    UCC Financing Statement filed by Seymour Fein

    Exhibit M: August 12, 2016 letter from Gretchen L. Jankowski to Rebecca S. LeGrand
               regarding improperly filed financing statements by Dr. Fein

    Exhibit N:    June 23, 2016 letter from Edward D. Purich to Seymour Fein terminating letter
                  agreement of May 4, 2005 between Dr. Fein and ChiRhoClin

    Exhibit O:    Report and Opinion of David Lin, Ph.D.
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Exhibit P:   Report and Opinion of Robert J. Wolters, Ph.D.

Exhibit Q:   April 4-6, 2011 email chain between Seymour Fein and Jean Purich regarding
             Fein’s request for a letter confirming he receives royalty payments of 15% of
             gross sales of ChiRhoClin

Exhibit R:   Report and Opinion of Theresa M. Stevens, Esquire


SEALED EXHIBITS (FILED SEPARATELY UNDER SEAL)


Sealed Ex. 27:      ChiRhoClin,’s Profit and Loss Statements for 2005 thru 2015

Sealed Ex. 28:      June 26, 2016 email from Seymour Fein to Edward Purich and Jean Purich
                    regarding royalty payment due in mid-July


Sealed Exhibit 101: Jean C. Purich Deposition Transcript of July 1, 2016

Sealed Exhibit 102: Edward Purich, Ph.D. Deposition Transcript Volume I of July 1, 2016 and
                    Volume II of July 19, 2016

Sealed Exhibit 103: Edward “Skip” Purich, Jr. Deposition Transcript of July 12, 2016

Sealed Exhibit 104: Seymour Fein Deposition Transcript of July 13, 2016




                                          /s/ Gretchen L. Jankowski
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                                                         -and-


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Dated: August 22, 2016




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